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   UNITED STATES DISTRICT CO UR T FO R TH E W ESTERN D ISTRICT O
                       C H ARLO TTESVILLE DIVISION


   ELIZABETH SINES,ET AL.,                                        C ase No.3:17-cv-00072-NK M

   Plaintiffs,                                                    H on.Norm an K .M oon

         V.

   JA SON KESSLER,ET AL.,

   D efqndants.

                              DEFENDAN T M ICH A EL PEIN O VICH 'S O PPO SITIO N TO
                     PLAIN TIFFS'M O TION TO PRECLUDE H IM FR O M R ECO RDING TH E
                                 PA RTIES'DISCO VERY NEG O TIATIO N S

                DefendantM ichaelPeinovich,Pro Se,subm itsthis m emorandum in opposition to

   Plaintiffs'm otion to preclude him from recording the parties'discovery negotiations.

          . .   D çfendantPeinovich.finds him selfbattling,pro se and w ithouta Iawyer,againsta dozen
                 .




   --   bymeansofa96rp>gçcomplaintthatisrepletewithdistortièns'ahd fâlsdstatetnèntsan1

   containsno plausible allegationsPeinovich did anything notfully protected by the Firstand

   Second Am endm entsto the United States Constitution. Given the m alice toward him em bodied

   in the spurioujcom plaint,Peinovich hasevery rightto be wary énd to try to protecthim selfas

   besthecan agailistfurtherfalsehoodsand misrepresentvtions.lnthisinstance,Peinoviéfl,'
   seeking to protecthim selfand notdisadvantagehis future attorney,sim ply requ:sted thdthebe

   allowed to record histelephone conversationswith Plaintiffs'lawyersregarding discovery.

   Plaintiffs'lawyers,ahpwever,seeing an opportunity to poison the zourtagaihstPèinovich and

   makehim seem qr
                 nunreasonableaftd uneooperativeextrèmisi,ikftised'thij7simpleandfréajbnàbl:
   requestand t.5led theirm otion to preclude.
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                         j
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        Peinovich w ould em phasize the follow ing points:

            H isrequestisreasonable.H e would like assurancethatPlaintiffs'lawyerswillnot

           claim he m adeprom isesorstatem entshe did notm ake,and he w ould liketo preserve

           the discovery discussionsverbatim forreview by hisfutureattorqey,ifhe isableto

           find one,

        2) lftheCourtinstructsthatheisnottorecordhistelephoneconversationswith
           Plaintiffs'lawyers,hewillofcoursecomply.Inhisemails.with Plaihtiffs?cotinsel,.

           he repeatedly m ade clearhisw illingnessto comply with the Court's instructions. H e

           doesnotfeel,however,thathe isbound to com ply w ith dem andsm ade by persons

           dedicated to destroying him .

        3) Plaintiffs'lawyers'pretextfortheirmotiontoprecludeisthatPeinovichwoulduse
           the recorded conversationson hisradio show . Plaintiffs'Iawyers'machinationsin

           this regard are show n by the factthatatno pointdid they everask Peinovich ifhe

           intended to use the conversationsforthis purpose,oreven m ention hisradio show . If

           he had been asked,he w ould have m ade clearhew illnotuse and has1neverhad any

           intention to use the recorded conversationson hisradio show .

        4) Peinovich'sradio show isadm ittedly edgy,controversial,satirical,and offensiveto
           m any. ltisnonetheless fully protected by FirstA m endm entcases and traditions.

           Peinovich has nevercom eclose to advocating violence orharm to others. Plaintiffs'

           lawyers'citationstotheshow areimproperandaredesignedtoprejudicetheCourt
           againstPeinovich.




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             Forthese reasons,Peinovich respectfully requeststhatPlaintiffs'motion to preclude

         bedenied,and thathe be allow ed to record hisconversationswith Plaintiffs'counsel,

         with the agreem entthatPeinovich w illneverusethe recorded conversations on hisradio

         show .


                                                           Respectfully subtnitted,




                                                           M
                                                           k
                                                             ichaelPei vich,Pro Se




                                      CERTIFICATE OF SERV IC E



     On this day ofN ovem bér,2017,1.M ichaelPeinovich certify thatIm ailed copiesofthis

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   M ichaelPeino ch




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